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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 EL DORADO DIVISION

 UNITED STATES OF AMERICA                                                              PLAINTIFF


 VS.                                  CASE NO. 10-cr-10004
                                      CASE NO. 12-cv-1059


 WILLIAM C. MITCHELL                                                               DEFENDANT

                                              ORDER

        Before the Court is the Report and Recommendation filed November 15, 2012, by the

 Honorable Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas.

 (ECF No. 118). Judge Bryant recommends that William Mitchell’s Motion to Vacate, Set Aside,

 or Reduce Sentence (ECF No. 100), made pursuant to 28 U.S.C. § 2255, be granted in part and

 denied in part. Specifically, Judge Bryant recommends that Mitchell be re-sentenced in accordance

 with the mandatory minimums adopted by Congress in the Fair Sentencing Act of 2010. Judge

 Bryant further recommends that the motion be denied as to Mitchell’s ineffective assistance of

 counsel claim and request for a new trial.

        The parties have not filed objections to the Report and Recommendation, and the time to

 object has passed. See 28 U.S.C. § 636(b)(1). Therefore, the Court adopts the Report and

 Recommendation in toto. Mitchell’s Motion (ECF No. 100) is hereby GRANTED in part.

 Mitchell should be re-sentenced in accordance with the Fair Sentencing Act of 2010.

        IT IS SO ORDERED, this 5th day of December, 2012.


                                                            /s/ Harry F. Barnes
                                                            Hon. Harry F. Barnes
                                                            United States District Judge
